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                      EXHIBIT 4
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                                                                                                         USOO8307063B2


(12) United States Patent                                                        (10) Patent No.:                       US 8,307,063 B2
       Moran et al.                                                              (45) Date of Patent:                                 Nov. 6, 2012

(54) METHOD AND APPARATUS FOR MANAGING                                                 6,308,209 B1 * 10/2001 Lecheler ....................... TO9,224
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         DATA TRAFFIC ASSOCATED WITH A USER                                            6,615,271 B1 ck    9, 2003   E.          al.   . . . . . . . . . . . . . . . . . 709,232
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(73) Assignee: Hewlett-Packard Development                                   2002/0129.143 A1*            9, 2002 McKinnon et al.                   709,225
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                     U.S.C. 154(b) by 1350 days.
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(21) Appl. No.: 10/179,496                                                  EP                    1054529            11, 2000
                                                                            EP                    1 225 743           T 2002
(22) Filed:          Jun. 25, 2002                                          GB                    2280 574            2, 1995

(65)                     Prior Publication Data
                                                                            * cited by examiner
        US 2003/O163581 A1             Aug. 28, 2003                        Primary Examiner — Barbara Burgess
(30)              Foreign Application Priority Data                         (57)                           ABSTRACT
                                                                            A method and processing device for controlling the commu
   Feb. 25, 2002       (GB) ................................... O2O4317.2   nication of data associated with a user on a network 1 is
                                                                            described, in which the communication of data to and from a
(51) Int. Cl.                                                               user is controlled according to user profile information. In a
        G06F 5/73                  (2006.01)                                preferred embodiment, the user profile information is main
(52) U.S. C. ......... 709/224; 709/217; 709/225; 709/232                   tained in a database 9 accessible to processing devices 5
(58) Field of Classification Search .................. 709/224,             providing access to the network 1, and includes a volume
                               709/223, 226, 203, 225, 229, 232             allowance for a predetermined time period, a maximum trans
        See application file for complete search history.                   mission rate and current usage information for the user. Each
                                                                            time a user connects to the network 1, the method determines
(56)                     References Cited                                   whether the user is within the volume allowance, and if so,
                                                                            permits access to the network 1. The communication of data
                 U.S. PATENT DOCUMENTS                                      is controlled according to the maximum transmission rate.
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                                                                              SNMP
                                                                              MANAGEMENT
                                                                              STATIO
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             NN                                                        7
                                             15
        3'           - as
             N                                                    ReMENT                        9
        3'            s                                           STATION

                      3
                                                                                              1-1
  3s                                                         3
  3s                                                    1 11                3             3


                                                  3s                                                73
                 3                 3
                      3                3.          3s
                                                  11                                                -3

  3s
                                                             3              3'       3
  3s                                               =                   3                  3

                                                                                                    23
                 3             3                  33–                                               73


                                            3'                                  3        N3
             Fig. 7                              N N                            15
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                                                                 CONTROL DATA      150
              START                                            TRANSMISSION RATE
                                                                  ACCORDING TO
                                                                USER INFORMATION


                                                               MONITORVOLUME
         DETERMINE USERD         1OO                            OF USER TRAFFIC
          OF NEW USER ON                                       STORE MONITORED
             NETWORK                                              VOLUME FOR
                                                               CURRENT SESSION

                                                                     AFTER
          SEND REQUEST TO        110                            PREDETERMINED
         DATABASE FOR USER                                       TIME INTERYAL
            INFORMATION                                          DETERMINE NEW
                                                                CURRENT VOLUME
                                                                FORTIME PERIOD


           RECEIVE USER          120                           SEND NEW CURRENT
         INFORMATION FROM                                           VOLUME
             DATABASE                                             TODATABASE


   130                                                   190
              IS                                                     SNEW
        CURRENT VOLUME            NO                            CURRENT VOLUME
     FORTIME PERIODe MAX                                     FORTIME PERIODe MAX
          VOLUMEFOR                                               VOLUMEFOR
            USER                                                    USER
                 YES
   140

         DISCONNECTUSER                             NO         HASCURRENT TIME
                                                               PERIOD EXPRED2




                                                                RESETMONTORED
                                                                  VOLUME FOR
                                                                CURRENT SESSION

                                            Fig.2
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                                                      US 8,307,063 B2
                               1.                                                                   2
   METHOD AND APPARATUS FOR MANAGING                                    The processing device of the present invention may be
    DATA TRAFFIC ASSOCATED WITHAUSER                                 separate from, or integrated within, a device providing access
               ONANETWORK                                            to a network Such as a port of a network Switch or a wireless
                                                                     access point.
          BACKGROUND OF THE INVENTION                                   Further preferred features and advantages of the present
                                                                     invention will be apparent from the following description and
  1. Field of the Invention                                          accompanying claims.
  The present invention relates to the management and con
trol of traffic on a data communications network.                           BRIEF DESCRIPTION OF THE DRAWINGS
                                                             10
  2. Description of the Related Art
  The use of data communications networks in public and         The present invention will now be described, by way of
semi-public environments, such as in universities, allows sig example, with reference to the accompanying drawings, in
nificant number of users access to the network simulta               which:
neously. The simultaneous access to the network by large 15 FIG. 1 is a schematic view of a part of a network according
numbers of user can generate Substantial Volumes of data to a preferred embodiment of the present invention, and
traffic, leading to congestion on the network. This congestion      FIG. 2 is a flow diagram illustrating a method, imple
can have an adverse effect on the speed of data communica        mented   in one or more network devices providing access to
tion. For example, use of network bandwidth by members of the network of FIG.1, inaccordance with a preferred embodi
the public may have a detrimental effect on the speed of ment of the present invention.
access to the network by users requiring access to the network       DETAILED DESCRIPTION OF THE PREFERRED
in the course of their employment.
                                                                                       EMBODIMENTS
   In addition, users may be able to use different workstations
(for instance at different physical locations), or connect to
different network access points (for instance by means of a 25 FIG. 1 shows a part of a data communications network 1
laptop at different docking stations or at different wireless comprising a plurality of network devices connected together
network access points), for network access. Accordingly, by media links. As is well known in the art, the network
techniques which attempt to restrict the bandwidth for a par devices include interconnecting network devices, such as
ticular network access point (which may be a network port for 30 switches 5 and hubs, having multiple ports for the connection
a wired network or a wireless access point for a wireless the    of other network devices including workstations (PCs) 3 to
network) may not entirely address this problem.                      network 1. The media links may comprise twisted pair,
   It would be desirable to manage the volume of data traffic includesorwireless
                                                                 coaxial     fibre-optic cable. The illustrated network 1 also
                                                                                     network components, typical of wireless
generated on the network, and the rate at which such traffic     networks, in which the media links are wireless links and the
may be communicated across the network, in a manner which 35 interconnecting network devices, for the connection of work
takes into account the user, and in particular the status of the stations (PCs) 3' or the like to the network 1, comprise wire
user, as specified by the network administrator.                 less access points 15.
            SUMMARY OF THE INVENTION
                                                                       In accordance with the illustrated embodiment, each
                                                                   switch 5 is an SNMP (Simple Network Management Proto
                                                                40 col) managed device, in which the agent defined in SNMP
   According to a first aspect, the present invention provides monitors data traffic passing through the ports of the device
a method for controlling the communication of data associ and stores the monitored data in accordance with SNMP. The
ated with a user on a network, the method controlling the skilled person will appreciate from the following description
communication of data according to user profile information. that the present invention is not limited to use with SNMP, but
   Preferably, the user profile information includes a volume 45 rather may be implemented using other standard or propri
allowance for the user, the Volume allowance relating to a etary protocols, including LDAP (Lightweight Directory
predefined time period.                                            Access Protocol), COPS (Common Open Policy Service Pro
   In a preferred embodiment, the volume of data traffic asso tocol) and RADIUS (Remote Authentication Dial-In User
ciated with a user is monitored, and the volume of data traffic    Service) as discussed below.
associated with a user for a current time period stored for use 50 An SNMP management station 7 is connected to the net
in controlling data communication.                                 work 1 and includes an SNMP manager for communicating
   Preferably the user profile information and the volume of with the managed network devices 5 in accordance with the
data traffic associated with a user are stored in a database       present invention. The management station 7 is used by the
accessible to devices providing access to the network, the network administrator and includes the necessary processing
devices controlling the communication of data.                  55 hardware and memory for operating one or more network
   Preferably, the step of controlling the communication of management software applications for monitoring the net
data also includes controlling the rate of data communication work 1. In addition to, or as part of Such a network manage
based on the user profile information.                             ment application, in accordance with the illustrated embodi
   According to a second aspect, the present invention pro ment of the present invention, the management station 7
vides a computer readable medium including a computer 60 includes a database 9 for storing “user profile information'.
program for carrying out the method of the first aspect of the        As the skilled person will appreciate, it is not essential that
present invention.                                                 the database 9 is associated with the management station 7.
   According to a third aspect, the present invention provides but rather the database 9 may be associated with any appro
a processing device associated with a device providing access priate workstation, server or other processing device perma
to a network, the processing device configured to control the 65 nently connected to the network 1.
communication of data associated with a user on the network            In accordance with the illustrated embodiment, database 9
according to user profile information.                               is created using any suitable conventional technique and the
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user profile information is typically entered in the database 9     used. In a second preferred embodiment, described in more
by the network administrator for each new user, and may be          detail below, the user ID can be determined using the IEEE
changed as desired.                                                 802.1X standard.
  The user profile information comprises the following infor          Step 110 sends a request to the database 9 for user profile
mation for each user:                                               information for the user. In particular, the request is an SNMP
  User ID:                                                          request for retrieval of the “MaxRate”; “MaxVolume”; “Start/
   Maximum Data Transmission Rate “MaxRate' (in Mbps); FinishTime: “AccPeriod’ and “ActualVolume” for the user
   Maximum Data Volume “MaxVolume' (in Mbytes) per ID specified in the request, as determined at step 100.
       Time Period AccPeriod (in seconds/hours/days/ 10 Step 120 receives the user profile information, requested at
       months);                                                    step 110, from the database 9 and may store this data in
                                                                   memory.
   Start and/or Finishing Time “Start/FinishTime’ for the             Step 130 compares the ActualVolume with the MaxVol
       Time Period.                                                ume to determine whether the ActualVolume exceeds the
   In addition to the user profile information, as explained MaxVolume. If step 130 determines that ActualVolume is
below, the database stores, for each user:                      15 greater than or equal to MaxVolume, the user has already
   Current Data Volume “ActualVolume' (in Mbytes) for the reached his or her data volume allowance for the time period,
       Current Time Period “AccPeriod (in seconds/hours/ and step 140 disconnects the user from the network. When
       days/weeks).                                                disconnecting the user, an appropriate message, explaining
   Accordingly, each user has a data Volume allowance, rep the reason for disconnection, is preferably sent to the user for
resented by MaxVolume” for a certain time period “AccPe display, and a message is also preferably sent to the network
riod’, the time period starting/finishing at the “Start/Finish management station 7 for inclusion in network management
Time'. For example, a high status user may have an allowance statistical data for use by the network administrator.
of 2000 Mbytes per day (the Start Time for each time period           Alternatively, if step 130 determines that ActualVolume is
being 00.01 hours every day). A low status user may have an less than MaxVolume, the user is within his or her data vol
allowance of 200 Mbytes per week (the Start Time for each 25 ume allowance for the time period and access to the network
time period being 00.01 every Monday).                             is permitted at data rates within the user's allowance as con
   To control the volume of data traffic generated by a user, as trolled in step 150.
described in detail below, the database 9 maintains a record of       Step 150 determines and controls the data/transmission
the volume of data traffic generated by a user in the Current 30 rate for the user. The data rate must be less than or equal to
Time Period, as the “ActualVolume', in order to ensure that a      MaxRate for the user, and may be determined and controlled
user does not exceed his or her volume allowance “MaxVol           using one or more conventional techniques.
ume' in the time period.                                              For example, step 150 may use auto negotiation, in accor
                                                                   dance
   Moreover, the data transmission rate has an upper limit for on other   with the IEEE 802.3x standard or equivalent standards
each user, represented by “MaxRate'. Thus, a high status user 35 network media,     to determine a fastest transmission rate for the
                                                                            equipment being employed by the user. The fastest
may have a maximum transmission rate of 1000 Mbps, rate determined by auto negotiation may then be used as the
whereas a low status user may be limited to transmission rates transmission rate provided it is less than or equal to MaxRate
of 10 Mbps, even if the network device used for network (if the fastest data rate determined by auto negotiation is
access is capable of higher transmission speeds.                   greater than MaxRate then the transmission rate is MaxRate
   The data transmission rate for a user is controlled accord 40 by default).
ing to the upper limit set for the user in the database               Step 150 may alternatively, or in addition, control the data
  MaxRate.                                                         transmission rate using the method described in the appli
   A method of controlling data communication, associated cants co pending UK Patent Application No 003 0600.1. In
with a user, on the network 1 of FIG. 1, in accordance with a      the method described in this co pending application the flow
first preferred embodiment of the present invention will now 45 of traffic though a port of a network switch is monitored and
be described with reference to FIG. 2. Methods according to controlled by a token bucket system. In particular, in a full
other embodiments of the present invention will also be duplex system, two token buckets are used, one to control the
described, which may be implemented using protocols other rate of outgoing traffic and the other to control the rate of
than SNMP and in conjunction with other networks.                  incoming traffic. Each token bucket is configured with a
   FIG. 2 illustrates a method in accordance with a first pre 50 threshold. In the case of the token bucket controlling outgoing
ferred embodiment of the present invention. Except as other traffic, when the threshold is exceeded, the rate at which data
wise indicated below, the method of this embodiment is             is output from the transmit queue of the port is reduced, thus
implemented in each managed network device 5, and each reducing the transmission rate. In the case of the token bucket
wireless access point 15, as embedded software. It will be controlling incoming data, when the threshold is exceeded the
appreciated that the method could be implemented in other 55 port transmits “pause' frames in accordance with IEEE 802.3
forms, including hardware.                                         Standard to reduce the rate of reception of data at the port.
   The method begins each time a user logs on to the network Accordingly, this method may be implemented in the method
1 using any port of any managed network device 5, and of the present invention, the thresholds of the token buckets
continues during the connection. Accordingly, the method being set in accordance with the user profile, and in particular
typically is performed simultaneously for a plurality of dif 60 in accordance with the MaxRate for the user.
ferent ports of the network device 5 and for a plurality of           Step 160 then monitors the volume of the traffic sent to and
different users.                                                   from the user, and stores in memory a monitored data Volume
   Step 100 determines the identity of the new user (“user for the Current Session (“SessionVolume”), corresponding to
ID'). The userID can be determined using any conventional the data Volume monitored since the user logged on to the
technique consistent with the network/network operating sys 65 network 1 in the Current Session at step 100. In accordance
tem. For example, the username entered by the new user with conventional techniques, the monitoring of the data Vol
during the login sequence of the operating system may be ume is preferably performed in hardware.
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                            5                                                                     6
  After a predetermined time interval (e.g. 30 minutes), step        Whilst in the described embodiment, the step of determin
170 determines the new CurrentVolume (new ActualVolume)           ing whether the CurrentVolume (ActualVolume/new Current
for the current time period by adding the SessionVolume           Volume) exceeds the user's permitted volume (MaxVolume)
stored in memory to the ActualVolume retrieved from the           is performed in the managed network device 5 (or wireless
database at step 120.                                             network access point 15) at step 130 or step 190, it will be
   Step 180 sends the “SessionVolume' (or alternatively the       appreciated that in other embodiments this determination
determined new ActualVolume) to the database 9 for updating       could be performed in the management station 7 or other
the value for ActualVolume associated with the userID stored      processor associated with database 9. In this case, the deter
in the database 9. (Note, if the SessionVolume is sent, the mination of the new Current Volume at step 170 may be
database performs the calculation to determine the new Actu 10 performed in the management station 7, following receipt of
alVolume).                                                        the monitored volume for the current session from the man
   Step 190 compares the new ActualVolume, determined at aged network device 5, sent at step 180.
step 170, with the MaxVolume to determine whether the new            As previously mentioned, the present invention is not lim
ActualVolume exceeds the MaxVolume.                               ited to use with SNMP. For instance, protocols including
   If step 190 determines that the new ActualVolume is less 15 RADIUS, LDAP and COPS may be used. The method
than MaxVolume, the user is still within his or her data vol      described in relation to FIG.2 will be adapted according to the
ume allowance for the time period and monitoring continues implementing protocol.
at step 160.                                                         For example, in a second preferred embodiment the IEEE
   Alternatively, if step 190 determines that new ActualVol 802.1X standard is used in conjunction with RADIUS. In this
ume is greater than or equal to MaxVolume, the user has now embodiment, step 100 uses the IEEE 802.1X standard
reached his or her data volume allowance for the Current          authentication sequence to determine the identity of the new
Time Period (i.e. the time period that was current at the start user. Specifically, in the authentication sequence a new user
of the session at step 100).                                      logging on to a network is invited to entera username (which
   However, before disconnecting the user, step 200 considers is the user ID in the present invention) and password. The
whether the Current Time Period has expired. This can be 25 username and password is authenticated by an authentication
determined by considering the “Start/FinishTime’ and the server on the network before access is allowed. If the user is
“AccPeriod” for the user, retrieved at step 120.                  authenticated, in accordance with the IEEE 802.1X standard,
   If step 200 determines that the Current Time Period has not the authentication server sends “attributes data” detailing the
expired, then step 140 disconnects the user from the network constraints and conditions for access to the network by the
1. When disconnecting the user, an appropriate message, 30 USC.
explaining the reason for disconnection, is preferably sent to       Accordingly, in this second preferred embodiment, the
the user for display, and, in accordance with the preferred authentication server also includes the database, which stores
embodiment, a message is also sent to the network manage the user profile information. The user profile information is
ment station 7 indicating that the user has been disconnected automatically included with the data sent to the port or wire
and Current Session has ended (this latter message termed 35 less access point to which the user is connecting with the
“end of session notification').                                   authentication attributes data. The additional data may be
   Alternatively, if step 200 determines that the Current Time incorporated with the attributes data using the RADIUS pro
Period has expired, then step 210 resets the monitored value tocol. It will be appreciated that in this embodiment, steps
in memory to Zero, and the ActualVolume to Zero and moni 100, 110 and 130 of the method of FIG. 2 are replaced by the
toring continues at step 160.                                  40 authentication sequence, it being unnecessary to send a sepa
   It will be appreciated that steps 200 and 210 may be per rate request for user information at step 110.
formed periodically at a different stage in the program              As will be apparent from the above description, the present
sequence. For instance these steps may be performed at more invention advantageously permits the dynamic allocation of
frequent periodic intervals than step 170 (e.g. every 1 to 5 bandwidth to a user, irrespective of the location of the user,
minutes) so that the monitored Volume can be reset and moni 45 upon connecting to the network, according to the profile of
toring can continue as soon as a new Current Time Period for the user. Thus, high priority users may be given high Volume
the user begins. Alternatively, since the network management and high maximum data rate allowances in order to guarantee
station 7 may automatically reset the ActualVolume for a user the allocation of bandwidth required.
in the database 9 as soon as a new Start/Finish Time is              As the skilled person will appreciate, various modifications
reached, and may monitor the Current Session of the user in 50 and changes may be made to the described embodiments. It is
response to the request at step 110, then, in the absence of an intended to include all Such variations, modifications and
“end of Session' notification at Step 140, the management equivalents which fall within the spirit and scope of the
station 7 may send a request to the network port (or access present invention, as defined in the accompanying claims.
point) to reset the monitored volume and the ActualVolume to         The invention claimed is:
Zero at the same time as resetting the ActualVolume in the 55 1. A method for controlling the communication of user data
database 9.                                                       associated, at a plurality of network Switches on a network,
   It will be appreciated that when a user logs off the network with a user on the network, the method comprising:
1 at the end of a session, whether or not his or her volume          in at least one of the plurality of network switches,
allowance has been reached, the monitored Volume is send to             accessing user profile information of the user, wherein
database 9 together with an “end of session” notification. 60              the user profile information comprises at least a data
   In addition, after step 140 disconnects the user from the               Volume allowance for the user;
network 1, or when the user logs off, the port of the network           monitoring a Volume of data used by the user over the
device 5 (or wireless network access point 15 or other equiva              network regardless of which of a plurality of devices
lent network access point) may reconfigure the auto negotia                the user uses to access the at least one of the plurality
tion mechanisms or other bandwidth, data rate or data Volume 65             of network switches;
control mechanisms to appropriate default or previously con              controlling the communication of user data on the net
figured settings until a new user logs on.                                 work by permitting said communication of user data
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          through the plurality of switches while the volume of    associated with the user at a plurality of points on the network,
          data used by the user is within the data volume allow    wherein the network Switch prevents the user from accessing
          ance for the user, and                                   the network when the volume of data used by the user reaches
        preventing said communication of user data if the Vol      or exceeds the data volume allowance for the user.
          ume of data used by the user reaches or exceeds the         13. A method for controlling, at a plurality of points on a
          data volume allowance for the user.                      network, the communication of user data associated with a
  2. A method as claimed in claim 1, in which the method           user on the network, the method comprising:
further comprises obtaining current usage information for the         in at least one hub on the network,
user from an external database; comparing the current usage             accessing user profile information of the user, wherein
information with the volume allowance for the user, and 10                the user profile information comprises at least a data
controlling the communication of user data according to the                Volume allowance for the user;
result of the comparison.                                               monitoring a Volume of data used by the user over the
  3. A method as claimed in claim 2, in which the volume                  network regardless of which of a plurality of devices
allowance is a data Volume for the user in a time period; the              the user uses to access the at least one hub;
current usage information includes a current Volume for the 15          controlling the communication of user data on the net
user, the current Volume corresponding to the Volume of data              work by permitting said communication of user data
associated with the user communicated on the network since                through the at least one hub while the volume of data
the start of a current said time period, and the step of com              used by the user is within the data volume allowance
paring comprises comparing the Volume allowance with the                   for the user, and
current volume for the user.                                            preventing said communication of user data if the Vol
   4. A method as claimed in claim 3, in which, if the step of            ume of data used by the user reaches or exceeds the
comparing determines that the current Volume is greater than              data Volume allowance.
or equal to the Volume allowance, the step of controlling           14. A method for controlling, at a plurality of points on a
comprises preventing data communication by the user until network, the communication of user data associated with a
said current time period has expired.                          25 user on the network, the method comprising:
   5. A method as claimed in claim 4, in which, if the step of      in at least one wireless access point on the network,
comparing determines that the current Volume is less than the          accessing user profile information of the user, wherein
Volume allowance, the step of controlling comprises permit                the user profile information comprises at least a data
ting the communication of user data associated with the user              Volume allowance for the user;
whilst controlling a data rate.                                30      monitoring a Volume of data used by the user over the
   6. A method as claimed in claim 3, in which, if the step of            network regardless of which of a plurality of devices
comparing determines that the current volume is less than the             the user uses to access the at least one wireless access
Volume allowance, the step of controlling comprises permit                point;
ting the communication of user data associated with the user           controlling the communication of user data at a plurality
whilst controlling a data rate.                                35         of points on the network by permitting said commu
   7. A method as claimed in claim 6, the step of controlling             nication of user data through the at least one wireless
the data rate comprises controlling the data rate according to            access point while the volume of data used by the user
a maximum data rate.                                                       is within a data Volume allowance for the user, and
  8. A method as claimed in claim 6, further comprising:                preventing said communication of user data if the Vol
monitoring, in the at least one of the plurality of network 40            ume of data used by the user reaches or exceeds the
Switches, the Volume of data associated with the user com                  data Volume allowance.
municated on the network.                                      15. A network hub associated with a device providing
  9. A method as claimed in claim 8, further comprising:    access to a network, the network hub being configured to
  periodically determining a new current Volume for the access user profile information of a user of the device,
     user, comparing the new current Volume with the Vol 45 wherein the user profile information comprises at least a data
     ume allowance for the user, and controlling the commu Volume allowance for the user, to monitor a volume of data
     nication of user databased upon the comparison.        used by the user over the network regardless of which of a
  10. A method as claimed in claim 9, wherein the volume    plurality of devices the user uses to access the network hub,
allowance, the current Volume, the data rate, the maximum          and to control the communication of data associated with the
data rate, and the time period are stored in the external data 50 user at a plurality of points on the network, wherein the
base; and wherein the at least one of the plurality of network network hub prevents a user from accessing the network when
Switches is configured to communicate with the external data the volume of data used by the user reaches or exceeds the
base.                                                              data value allowance for the user.
  11. A method as claimed in claim 10, wherein the at least         16. A wireless access point associated with a device pro
one of the plurality of network switches is configured to 55 viding access to a network, the wireless access point being
perform the step of monitoring, the method further compris configured to access user profile information of a user of the
ing periodically sending the monitored Volume of data for the device, wherein the user profile information comprises at
user to the database for updating the current volume for the least a data Volume allowance for the user, to monitor a
USC.                                                              volume of data used by the user over the network regardless of
   12. A network switch associated with a device providing 60 which of a plurality of devices the user uses to access the
access to a user to a network, the network Switch being con wireless access point, and to control the communication of
figured to access user profile information of a user of the data associated with a user at a plurality of points on the
device, wherein the user profile information comprises at network, wherein the wireless access point prevents a user
least a data Volume allowance for the user, to monitor a          from accessing the network when the Volume of data used by
volume of data used by the user over the network regardless of 65 the user reaches or exceeds the data Volume allowance.
which of a plurality of devices the user uses to access the
network Switch, and to control the communication of data
